                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )       Case No. 2:13-CR-04062-3-BCW
                                            )
CLIFFORD ANDREW LAKE,                       )
                                            )
                      Defendant.            )

                                            ORDER

       Before the Court is Magistrate Judge Matt J. Whitworth’s Report and Recommendation

(Doc. #56) denying Defendant Clifford Andrew Lake’s Motion to Suppress Statements (Doc.

#39). Neither party filed objections to the Report and Recommendation. After an independent

review of the record, the applicable law, and the parties’ arguments, the Court adopts Magistrate

Judge Whitworth’s findings of fact and conclusions of law. Accordingly, it is hereby

       ORDERED for the reasons stated in the Report and Recommendation (Doc. #56),

Defendant Lake’s Motion to Suppress Statements (Doc. #39) is DENIED. It is further

       ORDERED that Magistrate Judge Whitworth’s Report and Recommendation be attached

to and made part of this Order.

       IT IS SO ORDERED.




DATED: April 25, 2014                               /s/ Brian C. Wimes
                                                    JUDGE BRIAN C. WIMES
                                                    UNITED STATES DISTRICT COURT




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